Case 24-12904-amc      Doc 51     Filed 05/01/25 Entered 05/01/25 14:34:29           Desc Main
                                  Document     Page 1 of 3



                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                           : Bankruptcy No. 24-12904-AMC
       Michael Brennan                              : Chapter 13
       Rafael A. Tuck-Brennan                       :
                        Debtors                     :
                                                    :
   American Credit Acceptance                       :
                        Movant                      :
                 vs.                                :
   Michael Brennan                                  :
   Rafael A. Tuck-Brennan                           :
   Michael Congo (Non-Filing Co-Debtor)             :
                        Debtors/Respondents         :
                 And                                :
   Scott F. Waterman, Esquire                       :
                        Trustee/Respondent          :

            CONSENT ORDER / STIPULATION AGREEMENT SETTLING
               MOTION FOR RELIEF FROM AUTOMATIC STAY
                          UNDER 11 U.S.C. § 362

       AND NOW, upon the Motion of American Credit Acceptance (“Creditor”/ “Movant”),
through its counsel, Hladik, Onorato & Federman, LLP, for relief from the automatic stay
pursuant to Bankruptcy Code § 362(d), and §1301 as to Michael Congo, as to a certain vehicle,
2013 Chevrolet Equinox, VIN# 2GNALPEKXD6343515 (the “Vehicle”), it is hereby agreed as
follows:

Debtors, Michael Brennan and Rafael A. Tuck-Brennan, (“Debtors”) acknowledge that the
following monthly post-petition payments are due as follows:

       Regular Monthly Payments 09/10/2024 – 03/10/2025 ($524.76/each)…………$3,673.32
       Total Amount Due Post-Petition: ……………………………………………….$3,673.32

       1.     Debtors shall cure the Arrears as set forth above in the following manner:

              a. The total post-petition arrears, in the amount of $3,673.32 shall be added into,
                 and paid through, the Chapter 13 Plan of Reorganization in addition to the
                 current arrearage amount on Movant’s Proof of Claim.

        2.     Debtors agree to continue making the regular post-petition monthly payments to
Creditor in the amount of $524.76 (or as may be adjusted from time to time, as per Contract
terms), commencing with the April 10, 2025 payment and monthly every payment thereafter.

       3.     Debtors shall make the regular monthly payments required to the Trustee.
Case 24-12904-amc       Doc 51    Filed 05/01/25 Entered 05/01/25 14:34:29             Desc Main
                                  Document     Page 2 of 3



       4.      Debtors shall send all payments due directly to Creditor at the address below:

                                 American Credit Acceptance
                                    961 East Main Street
                                   Spartanburg, SC 29302

ACA’s loan #xxxxx5346 must appear on each payment.

        5.     In the event Debtors fail to make any of the payments set forth hereinabove on or
before the due dates, Creditor and/or Counsel may give Debtors and Counsel for Debtors notice
of the default. If Debtors dos not cure the default within ten (10) days of the notice, upon
Certification of Default to the Court, and request for Order, with a copy to Debtors and Counsel
for Debtors, Creditor shall immediately have relief from the bankruptcy stay and Co-Debtor stay
upon entry of Court Order. Debtors’ opportunity to cure the default shall be limited to two (2)
occurrences. Upon the third occurrence, Creditor may file a Certification of Default with the
Court without notice to Debtors or Debtors’ counsel.

        6.     The failure by the Creditor, at any time, to file a Certification of Default upon
default by the Debtors shall not be construed, nor shall such failure act, as a waiver of any of
Creditor’s rights hereunder.

       7.      Upon issuance of the aforesaid Order, the parties hereto further agree that
Creditor may proceed in state court to exercise all rights and remedies available to it as a
Creditor under state and federal law.

       8.      In the event Debtors convert to a bankruptcy under Chapter 7 of the Bankruptcy
Code, then Debtors shall pay all pre-petition arrears and post-petition arrears within 10 days
from the date the case is converted. If Debtors fail to make payments in accordance with this
paragraph, then the Creditor, through Counsel, may file a certification setting forth said failure
and the Creditor shall be granted immediate relief from the automatic stay and Co-Debtor stay.

      9.       It is further agreed that the 14-day stay provided by Rule 4001(a)(3) is hereby
waived.

      10.     The undersigned parties request that the Court enter an Order approving this
Consent Order/Stipulation and the terms therein.
Case 24-12904-amc       Doc 51    Filed 05/01/25 Entered 05/01/25 14:34:29            Desc Main
                                  Document     Page 3 of 3



       By signing this Stipulation, Counsel for Debtors represents that the Debtors are familiar
with and understand the terms of this Stipulation and agree to said terms regardless of whether
the Debtors have signed this Stipulation. Seen and agreed by the parties on the date set forth
below:



/s/ Danielle Boyle-Ebersole
_______________________________                ________________________________
Danielle Boyle-Ebersole, Esquire               Michael Assad, Esquire
Counsel for Creditor                           Counsel for Debtors

Date: 04/28/2025                                     04/28/2025
                                               Date: __________



/s/ Ann Swartz*
_____________________________
Scott F. Waterman, Esquire
Trustee
      05/01/2025
Date: _________
*Attorney for Chapter 13 Trustee
